                                      Case 8:17-cv-00606-DOC-KES Document 167 Filed 11/06/18 Page 1 of 2 Page ID #:4251


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                                                                             8                        UNITED STATES DISTRICT COURT
                                                                             9        CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
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PAYNE & FEARS LLP
                    400 CONTINENTAL BOULEVARD, SUITE 600




                                                                            12 Craftwood II, Inc., et al. ,                  Case No. 8:17-cv-00606 (DOC) (KES)
                         EL SEGUNDO, CALIFORNIA 90245




                                                                            13               Plaintiff,                      Judge David O. Carter
                              ATTORNEYS AT LAW


                                                           (310) 689-1750




                                                                            14         v.                                    Order to Stay Case [166]
                                                                            15 Wurth Louis & Company, et al.,

                                                                            16               Defendant.                      Pre-Trial Conf.:   November 16, 2018
                                                                                                                             Time:              7:30 A.M.
                                                                            17                                               Courtroom:         9D
                                                                            18
                                                                                                                             Trial Date:        December 4, 2018
                                                                            19                                               Time:              8:30 A.M.
                                                                            20
                                                                                                                             Courtroom:         9D

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                                                                                                              ORDER TO STAY CASE
                                      Case 8:17-cv-00606-DOC-KES Document 167 Filed 11/06/18 Page 2 of 2 Page ID #:4252




                                                                             1        After reviewing the parties’ stipulation, and for good cause showing, the
                                                                             2 Court hereby stays the case. The pre-trial conference set for November 16 and trial

                                                                             3 set for December 4 (and all activities related thereto for which there are deadlines)

                                                                             4 are hereby vacated until further notice.

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                                                                             6        IT IS SO ORDERED.
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                                                                                          November 6, 2018
                                                                             8   Dated:
                                                                                                                              Hon. David O. Carter
                                                                             9                                                Judge, United States District Court
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PAYNE & FEARS LLP
                    400 CONTINENTAL BOULEVARD, SUITE 600




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                         EL SEGUNDO, CALIFORNIA 90245




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                              ATTORNEYS AT LAW


                                                           (310) 689-1750




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                                                                                                            ORDER TO STAY CASE
